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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 SELESTINO SANCHEZ, SR.


 v.                                               Case No. 8:05-cr-498-T-17MAP
                                                           8:08-cv-2311-T-17MAP

 UNITED STATES OF AMERICA.
 _____________________________________________

                                          ORDER

          This cause is before the Court on Defendant Sanchez's motion to vacate, set aside,

 or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. (Doc. cv-1; cr-797).

 A review of the record demonstrates that, for the reasons set out below, the motion to

 vacate must be denied.

                                       BACKGROUND

          In 2004 and 2005, federal, state and local authorities investigated a large drug

 trafficking organization operating in Florida, Texas and California which involved Sanchez

 and a host of other individuals. PSR ¶¶ 11-12. During the course of that investigation, law

 enforcement seized approximately 120 kilograms of cocaine, $1,000,000 in drug proceeds,

 and several vehicles. PSR ¶ 13.

          Through the use of a variety of investigative techniques, including cooperating

 defendants, wiretap intercepts, trash pulls, and search warrants, law enforcement learned

 that Sanchez was supplying co-defendant Robert Masias and others with kilogram

 quantities of cocaine and pound quantities of methamphetamine. PSR ¶¶ 11- 12, 14-15,

 17-18.

          In March 2005, for example, a cooperating defendant – Antonio Nunez – who was
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 working with law enforcement at the time negotiated with Sanchez for the purchase of two

 kilograms of cocaine. PSR ¶ 14. Although Nunez had received cocaine from Sanchez in

 the past, he was unable to consummate this transaction with Sanchez because he did not

 have enough money to pay for the cocaine. PSR ¶ 14.

       Similarly, between April and September 2005, authorities intercepted a number of

 telephone conversations in which Sanchez arranged drug transactions involving cocaine

 and methamphetamine. PSR ¶ 15. On April 26, 2005, for example, Sanchez told Masias

 that he was able to supply cocaine for $19,000 per kilogram. PSR ¶ 16. The next day,

 Sanchez supplied Masias with one kilogram of cocaine, which Masias then distributed to

 co-defendant Cesar Espinoza-Salazar. PSR ¶ 17.

       Likewise, on August 4, 2005, Sanchez and Masias discussed the purchase of

 cocaine, and Sanchez tried to sell Masias four pounds of methamphetamine. PSR ¶ 18.

 Sanchez eventually distributed two pounds of methamphetamine to Masias and,

 approximately one week later, offered to sell Masias the remaining two pounds of

 methamphetamine. PSR ¶ 18.

       On two occasions in October and November 2005, authorities collected curbside

 garbage at Sanchez's residence and recovered items containing trace amounts of cocaine,

 including a kilogram cocaine wrapper. PSR ¶ 19. Shortly thereafter, authorities executed

 a search warrant at Sanchez's residence, where they seized cocaine, a digital scale, and

 multiple cellular telephones. PSR ¶ 20.

       Sanchez was ultimately indicted in the Middle District of Florida and charged with

 conspiracy to distribute and to possess with intent to distribute 5 kilograms or more of

 cocaine and 500 grams or more of methamphetamine, and distribution, and possession

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 with intent to distribute, 500 grams or more of cocaine. Doc. 588.

       On the day his trial was scheduled to commence, Sanchez appeared with his

 attorney, Thomas Ostrander, and entered a guilty plea to these charges without a written

 plea agreement. Doc. 682 at 3-4, 14-15; Doc. 630. During the plea hearing that followed,

 Mr. Ostrander reviewed with Sanchez the conspiracy and distribution counts, and the

 government recited the factual basis supporting those counts, including Sanchez's drug

 transactions with Nunez and the fact that Sanchez had distributed both methamphetamine

 and cocaine during the course of the charged conspiracy. Doc. 682 at 8-15. 28-32. At the

 conclusion of the government’s recitation, Mr. Ostrander acknowledged that the

 government would be able to prove these facts if the case proceeded to trial. Id. at 32.

       Despite his prior guilty plea, Sanchez appeared at his sentencing hearing with a new

 attorney, Ronald Tulin, and denied two aspects of the relevant conduct the government had

 recited during his plea hearing. Doc. 700 at 10-16. First, Sanchez asserted that he had

 never met Nunez and, therefore, had never supplied Nunez with cocaine. Id. at 10-12.

 Second, Sanchez asserted that, although he had purchased methamphetamine for

 personal use during the time period at issue, he had distributed only cocaine during the

 course of the charged conspiracy. Id. at 13-16.

       To resolve the factual dispute concerning Sanchez’s relevant conduct, the

 government offered the testimony of the lead case agent, DEA Special Agent Dan Gordon.

 Id. at 22-36. Special Agent Gordon explained that, while monitoring wiretaps, agents had

 intercepted telephone conversations on August 4, 2005 and August 10, 2005, in which

 Sanchez had discussed or arranged methamphetamine sales to codefendant Masias. Id.

 at 24-27. Special Agent Gordon further explained that, during subsequent debriefings,

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 Masias admitted that he and Sanchez had been discussing methamphetamine during these

 conversations, that he had purchased two pounds of methamphetamine from Sanchez after

 the August 4, 2005 conversation, and that Sanchez had supplied him with well over 5

 kilograms of cocaine and at least 10 pounds of methamphetamine prior to their arrests in

 December 2005. Id. at 26, 32, 35-36. Special Agent Gordon also testified that Masias had

 stated that, on at least 10 occasions, he had been present when Sanchez had received

 varying quantities of cocaine and methamphetamine from co-defendant Pedro

 Medina-Villegas. Id. at 30- 31. More generally, Special Agent Gordon testified that the PSR

 accurately characterized Sanchez's offense conduct. Id. at 36.

        After entertaining argument from counsel on the matter, this Court expressly credited

 Special Agent Gordon’s testimony and concluded that Sanchez “ha[d] not met the test of

 acceptance of responsibility specifically with regard to the methamphetamine.” Id. at 48.

 The Court accordingly declined to award Sanchez a reduction in his offense level pursuant

 to section 3E1.1, and sentenced him principally to a low-end sentence of 235 months’

 imprisonment. Id. at 57-58; Doc. 686 at 2-3; Doc. 684.

        Sanchez thereafter filed an appeal in which he challenged the Court’s admission of

 Special Agent Gordon’s testimony at his sentencing hearing, as well as the Court’s ultimate

 finding that Sanchez did not deserve credit for acceptance of responsibility. In a per curiam

 opinion filed on May 20, 2008, the Eleventh Circuit Court of Appeals affirmed Sanchez's

 sentence. Doc. 767.

        Sanchez timely filed the present 2255 motion to vacate on November 19, 2008.

                                        DISCUSSION

        In his 28 U.S.C. § 2255 motion to vacate, Sanchez argues (1) that he was allegedly

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 incompetent to enter his guilty plea due to the fact that he was illiterate and lacked any

 “educational training” at the time of his change of plea hearing; and (2) that his attorney,

 Ronald Tulin, was constitutionally ineffective at the time of the plea because he failed to

 raise the issue of Sanchez's competence with the Court.1 Doc. cv-1 at 15, 17. For the

 reasons discussed below, Sanchez's claims are procedurally infirm and substantively

 without merit.

 I. SANCHEZ'S COMPETENCY CLAIM IS PROCEDURALLY BARRED AND
 SUBSTANTIVELY WITHOUT MERIT

         It is well settled that claims that were previously available but were not raised on

 direct appeal ordinarily are procedurally defaulted and barred from consideration on

 collateral review absent a showing of cause and actual prejudice or actual innocence.

 Bousley v. United States, 523 U.S. 614, 622-24 (1998); United States v. Frady, 456 U.S.

 152, 166 (1982). In order to show cause for his procedural default, a section 2255 movant

 must demonstrate that there was some external impediment preventing his counsel from

 previously constructing or raising the claims at issue. Weeks v. Jones, 52 F.3d 1559, 1561

 (11th Cir.), cert. denied, 115 S. Ct. 1841 (1995). In other words, “‘a petitioner must

 demonstrate that the reason for failing to raise the issue is something that cannot be fairly

 attributed to him.’” United States v. MacEwan, 2008 WL 862396, at *10 (Mar. 31, 2008)

 (citation omitted).

         In this case, Sanchez did not raise the issue of his competence either before this

 Court or on appeal. Sanchez has not tendered any reasons to excuse this procedural



         1
          Sanchez's reference to Mr. Tulin in this latter regard is incorrect as Mr. Ostrander, not Mr. Tulin,
 represented Sanchez at his change of plea hearing.

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 default, and, in fact, has failed to address the matter entirely in his motion. MacEwan, 2008

 WL 862396, at *10 (finding that section 2255 petitioner who had previously failed to raise

 claim that he was incompetent to stand trial and enter a guilty plea was procedurally barred

 from pursuing that claim in a section 2255 motion where he could not establish cause for

 his procedural default); accord United States v. Riddick, 15 F.Supp.2d 673, 676 (E.D. Pa.

 1998).

          Nor could Sanchez have succeeded on his competency claim even if he had raised

 it previously. “The legal standard for mental competency . . . is that [a] defendant has

 sufficient present ability to consult with his or her attorney with a reasonable degree of

 rational understanding and has a rational as well as factual understanding of the

 proceedings against him or her.” United States v. McDowell, 2006 WL 3837490, at *1 (M.D.

 Fla. 2006 (Steele, J.); see also Godinez v. Moran, 509 U.S. 389, 396 (1993); Dusky v.

 United States, 362 U.S. 402 (1960).

          Sanchez has not tendered any evidence to show that he could satisfy this legal

 standard here. The mere fact that he may have been illiterate and lacked any formal

 education at the time he entered his plea did not render him incompetent to do so. Many

 defendants who are convicted of drug crimes – either by way of a plea or after trial – have

 limited schooling and yet are fully capable of understanding the charges against them and

 of assisting their attorneys in the preparation of their defense.

          Sanchez's belated claim of incompetency is also wholly belied by the record as well.

 In his PSR, Sanchez candidly admitted that, although he had suffered from alcohol and

 drug dependency issues in the past, he had no history of any mental or emotional problems

 and had never been treated for any such problems. PSR at ¶¶ 113-115. Sanchez further

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 indicated in his PSR that he had been gainfully employed by a variety of companies for the

 roughly eighteen years prior to his arrest, that he had also been married for roughly forty

 years, and that he and his wife had raised eight children. PSR at ¶¶ 103, 106-107, 121.

        The Court’s extensive and detailed colloquy with Sanchez at his change of plea

 hearing is similarly fatal to his competency claim. During the course of that hearing,

 Sanchez's counsel – Mr. Ostrander – advised the Court that he had met with Sanchez and

 an interpreter at least six times to discuss the actual written plea agreement, that Sanchez

 had rejected that plea agreement, that Sanchez understood the nature of the charges

 against him and the penalties to which he was subject, and that he had advised for a “long

 time” that he wished to plead guilty. Doc. 682 at 4-5, 34. Mr. Ostrander also reviewed with

 Sanchez, on the record, the conspiracy and distribution counts to which Sanchez was

 pleading guilty. Id. at 8-15.

        In addition, Sanchez assured the Court under oath that he understood the charges

 against him, the penalties to which he was subject, and the essential elements of the

 offenses to which he was pleading guilty; that nobody had forced him, threatened him or

 promised him anything to get him to plead guilty; that he understood the sentencing

 guidelines and his right to persist in his plea of not guilty; and that he was waiving his right

 to go to trial and have the government prove its case. Id. at 8-18, 23-28, 34.

        The Court also confirmed with Sanchez that he was not under the influence of any

 medication that might impact his mental state, and that, as evidenced by the following

 exchange, he had no mental health issues:


        THE COURT:                . . Have you ever been treated for
                                 a mental illness?

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        DEFENDANT:           No.

        THE COURT:           Have you ever been to see a
                             psychiatrist, a doctor that
                             specializes in problems with
                             people with their mind, or their
                             emotions?

        DEFENDANT:           No.

        THE COURT:           Okay. Have you ever been to see
                             anybody with regard to any sort of
                             depression or been to see a
                             psychologist for any sort of a
                             problem in your life?

        DEFENDANT:           No.

        THE COURT:           Pardon me?

        DEFENDANT:           Never.

 Id. at 23.

        The government then recited the factual basis in support of Sanchez's guilty plea,

 including Sanchez's drug transactions with Nunez and the fact that Sanchez had

 distributed both methamphetamine and cocaine during the course of the charged

 conspiracy, and Mr. Ostrander acknowledged that the government would be able to prove

 these facts if the case proceeded to trial. Id. at 28-32. Sanchez then acknowledged that he

 had fully, completely and extensively discussed the case with Mr. Ostrander, that Mr.

 Ostrander had advised him of his constitutional rights and possible defenses, that Mr.

 Ostrander knew what he was doing, and that Sanchez was satisfied with Mr. Ostrander’s

 representation of him. Id. at 32-33.

        At the end of the hearing, the Court concluded that Sanchez was an able bodied

 male of average intelligence, and that he fully understood both the nature of the charges

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 to which he was pleading and the penalties to which he was subject. Id. at 34. The Court

 also concluded that Sanchez's plea was not product of any threats, force or promises, and

 that Sanchez clearly understood that, by entering his plea, he was admitting he was guilty

 of the charges against him. Id. The Court further found that Sanchez had been represented

 by adequate and competent counsel, who had advised him of his rights and possible

 defenses. Id. at 35-36. Most importantly, the Court found that Sanchez was entering his

 plea freely and voluntarily. Id. at 36.

        This extensive and detailed plea colloquy, along with the information contained in

 Sanchez's PSR, fatally undermines his present assertion that he was incompetent at the

 time of his plea. The fact that neither of his trial attorneys – Messrs. Ostrander nor Tulin –

 raised the issue of Sanchez's competence with this Court further refutes his competency

 claim as well. Cf. Riddick, 15 F.Supp.2d at 677 (“Failure of defense counsel to raise the

 competency issue at trial, while not dispositive, is evidence that defendant’s competency

 was not really in doubt . . .“ (quoting Watts v. Singletary, 87 F.3d 1282, 1288 (11th Cir.

 1996)).

 II. SANCHEZ'S SIXTH AMENDMENT CLAIM IS ALSO WITHOUT MERIT

        Sanchez's ineffective assistance claim must also fail. To succeed on such a claim,

 Sanchez must show (1) that his attorney’s performance fell below an objective standard of

 reasonable professional assistance, and (2) that he was prejudiced by that deficient

 performance. Strickland v. Washington, 466 U.S. 668, 687 (1984), Sanchez's failure to

 prove either one of these prongs is fatal to any request for collateral relief. Id. at 697

 (“there is no reason for a court deciding an ineffective assistance claim . . . to address both

 components of the inquiry if the defendant makes an insufficient showing on one”).

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         Sanchez's Sixth Amendment claim is predicated upon his allegation that he was

  incompetent at the time he entered his guilty plea. As this allegation is unsupportable, his

  ineffective assistance claim must necessarily fail. See United States v. Howard, 381 F.3d

  873, 877-78 (9th Cir. 2004) (“To establish that his counsel provided ineffective assistance

  in light of [defendant’s] alleged incompetency, [defendant] must first demonstrate that he

  was indeed incompetent to plead guilty.”) Sandgathe v. Maass, 314 F.3d 371, 379 (9th Cir.

  2002) (affirming district court’s denial of defendant’s ineffective assistance of counsel claim

  because defendant had offered no evidence for his asserted incompetence to plead guilty

  as a result of taking psychotropic drugs); see also Card v. Dugger, 911 F.2d 1494, 1520

  (11th Cir. 1990) (“Counsel cannot be labeled ineffective for failing to raise issues which

  have no merit”).

         The government filed its response in opposition to Sanchez's motion to vacate on

  December 22, 2008.2 Sanchez had 25 days to file a reply to the response. Sanchez did

  not file a reply and did not file a motion seeking an extension of time to file a reply.

         Accordingly, the Court orders:

         That Sanchez's 28 U.S.C. § 2255 motion to vacate (Doc.cv-1; cr-797) is denied.

  The Clerk is directed to enter judgment against Sanchez and to close this case.

                         CERTIFICATE OF APPEALABILITY AND
                     LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

         IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

  appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal



         2
            On March 24, 2009, the government refiled the identical response for the purpose of attaching
  appellate briefs.

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  a district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

  first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the applicant

  has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2).

  To make such a showing, Defendant “must demonstrate that reasonable jurists would find

  the district court's assessment of the constitutional claims debatable or wrong,” Tennard

  v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

  or that “the issues presented were ‘adequate to deserve encouragement to proceed further,

  ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

  880, 893 n. 4 (1983)). Defendant has not made the requisite showing in these

  circumstances.

         Finally, because Defendant is not entitled to a certificate of appealability, he is not

  entitled to appeal in forma pauperis.

         ORDERED at Tampa, Florida, on March 25, 2009.




  AUSA: Christopher P. Tuite
  Selestino Sanchez, Sr.




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